
Simon, J.
delivered the opinion of the court.
Plaintiff seeks to recover the sum of $500, which she alleges to have lent to her father in the month of June, 1885. The answer is a general denial. She had judgment in the court below, and the defendant appealed.
The only question presented in this case is one of fact. Several witnesses ■ *626have heen examined to prove the plaintiff’s claim; the testimony of one of them named Joseph Aguilard, establishes positively that the deceased repeatedly acknowledged that he owed the plaintiff the sum of five hundred [426] dollars; and this evidence is cprroborated by the deposition of another witness, who proves a conversation which he had with the deceased, in which he intimated his indebtedness to the plaintiff. An attempt has been made to impeach the testimony of Aguilard, and to discredit him, by showing that he ought not to be believed upon oath; but on the part of the plaintiff, several individuals have sworn that they would believe him; and after hearing all the. witnesses, the judge a quo was of opinion that the plaintiff was entitled to judgment.
It does not appear to us that any error has been committed; the inferior judge saw the witnesses testify, had a full opportunity of judging of the degree of credibility which could be placed in their testimony, and we are not ready to say that he came to an erroneous conclusion on the facts disclosed by the evidence.
It is therefore ordered, adjudged and decreed, that the judgment of the court of probates he affirmed, with costs.
